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 9
                                IN THE UNITED STATES DISTRICT COURT
10
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                          SACRAMENTO DIVISION
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14     RALPH COLEMAN, et al.,                                  2:90-cv-00520 KJM-DB (PC)

15                                           Plaintiffs,       DEFENDANTS’ APPLICATION FOR A 7-
                                                               MINUTE EXTENSION OF TIME NUNC
16                    v.                                       PRO TUNC TO FILE THEIR RESPONSE
17                                                             TO THE COURT’S ORDER FOR
       EDMUND G. BROWN JR., et al.,                            COMMENTS ON THE PROPOSED
18                                                             ORDER OF APPOINTMENT
                                           Defendants.
19
20
                              APPLICATION FOR 7-MINUTE EXTENSION
21
             Defendants request a 7-minute extension of time, nunc pro tunc, by which to file
22
       Defendants’ Response to the Court’s Order to Show Cause. As discussed below, good cause
23
       exists to grant Defendants’ request because their counsel diligently worked to meet the Court’s
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       5:00 p.m. deadline on November 20, 2018 under tight time constraints, and would have filed on
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       time, but for unforeseen difficulties. No previous extensions of time have been granted for the
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       Response’s deadline. And counsel would have sought the extension earlier, except that its need
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       did not appear until after the deadline had passed.
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                                       Defs.’ App. For 7-Minute EOT Nunc Pro Tunc (2:90-cv-00520 KJM-DB (PC))
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 1           On Tuesday, November 13, 2018, at 5:15 p.m., the Court ordered Defendants to show cause

 2     why the Court should not appoint an independent investigator by 5:00 p.m. on Tuesday,

 3     November 20, 2018. (ECF No. 6002.) Defendants were also ordered to file and serve comments

 4     on the proposed order at the same date and time. (Id.)

 5           Because of the strict deadlines and other litigation burdens arising during the period of

 6     November 12 to November 20, counsel from the Attorney General’s Office who had limited

 7     experience with this case were necessarily assigned to assist in preparing the responses. Counsel

 8     worked very diligently, quickly coming up to speed on the many and varied issues addressed in

 9     this case and the responses, with extremely long work hours spent to timely complete the work.
10           All of the briefing and supporting declarations were essentially complete before 5:00 p.m.
11     on November 20, but were subject to various reviews for legal and factual accuracy. Counsel
12     arranged for several support staff to simultaneously file the documents so that they would be
13     timely. Defendants filed their response to the order to show cause why the Court should not
14     appoint an independent investigator timely. Unfortunately, Attorney General’s Office staff
15     encountered some technical difficulty in filing Defendants’ comments on the Proposed Order of
16     Appointment, creating an unanticipated delay. As such, Defendants’ comments on the proposed
17     order, together with supporting declarations, were filed at 5:07 p.m., 7 minutes past the deadline.
18           Given counsels’ substantial diligence to meet the deadline under pressing work demands
19     and the very minimal extension sought, Defendants respectfully request that the Court grant a 7-
20     minute extension, nunc pro tunc, to accept their filing.

21           A proposed order is submitted for the Court’s consideration.

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                                       Defs.’ App. For 7-Minute EOT Nunc Pro Tunc (2:90-cv-00520 KJM-DB (PC))
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 1     Dated: November 20, 2018                        Respectfully submitted,

 2                                                     XAVIER BECERRA
                                                       Attorney General of California
 3                                                     ADRIANO HRVATIN
                                                       Supervising Deputy Attorney General
 4

 5
                                                       /s/ Jay C. Russell
 6                                                     JAY C. RUSSELL
                                                       Supervising Deputy Attorney General
 7                                                     Attorneys for Defendants

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                                  Defs.’ App. For 7-Minute EOT Nunc Pro Tunc (2:90-cv-00520 KJM-DB (PC))
